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                              Exhibit 7 – Bellwether Plaintiffs Table


  Victim’s Name      Plaintiff’s Name      Relationship   Nationality/Citizenship     Exhibits
PFC Nicholas         Rita Blodgett         Mother         United States             33, 34
Blodgett
1LT William Edens    Christina Linden      Widow          United States             39, 40
SPC Ricky            Jason Rockholt        Brother        United States             41, 42
Rockholt
Sgt. Adam            Sgt. Adam             Self           United States             43, 44
Kisielewski (ret.)   Kisielewski (ret.)
LCpl. Brent Zoucha Rita Zoucha             Mother         United States             47, 48
SGT Ross             Brandon               Brother        United States             53, 54
Clevenger            Clevenger
                     Roger Kurtz           Father         United States             55, 56
SGT Russell Kurtz
                     Stephanie Kurtz       Sister         United States             57, 58
SSG Justin Estes     Norma Estes           Half-Sister    United States             61, 62
CPT Jonathan         Patricia              Mother         United States             63, 64
Grassbaugh           Grassbaugh
CPL James            Michael Summers Brother              United States             65, 66
Summers
                     Nanette West          Mother         United States             67, 68
1LT Kile West
                     Clark West            Father         United States             69, 70
SFC Justin           Patty Jett            Mother         United States             75, 76
Monschke
SFC Robin Towns      Shelia Towns          Widow          United States             77, 78
Sr.
SFC Jonathan         Martha Cabe           Mother         United States             79, 80
Dozier
SGT Zachary          Sarah Lambert         Sister         United States             81, 82
McBride
SFC Matthew          Duane Pionk           Father         United States             83, 84
Pionk
                     Jonathan Krause       Son            United States             17, 18
SGT Elmer Krause
                     Gerald Krause         Brother        United States             19, 20
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                     Lisa Kaufman         Daughter       United States          13, 14
Mr. Stephen Hulett
                     Alexandria Parks     Step-Daughter United States           15, 16
                     Felicia Bell         Sister         United States          9, 10
Mr. Timothy Bell     Carter
                     Michael Bell         Brother        United States          11, 12
                     Milissa              Daughter       United States          21, 22
SGM Michael          Wojtowicz
Stack
                     Virginia Maitland    Daughter       United States          23, 24
                     Ashley LeGrand       Widow          United States          71, 72
CPL Damon            Rawlings
LeGrand
                     K.L., a minor        Daughter       United States          73, 74
                     Kelly Inman          Sister         United States          85, 86
SGT James Craig
                     Natalie Jackson      Widow          United States          87, 88
                     Andrew Marshall      Father         United States          89, 90
CPL Evan Marshall
                     Sheila Marshall      Mother         United States          91, 92
PV2 Joshua Young     Brandi Yanez         Sister         United States          93, 94
SGT James Harlan     Tara Roberts         Daughter       United States          29, 30
Mr. John             Jacob Kosky          Step-Son       United States          35, 36
Pinsonneault
SSG Lynn Poulin,     Nancy Poulin         Sister         United States          37, 38
Sr.
SGT Arian Orosco     Noe Orosco, Sr.      Father         United States          45, 46
CPL Jason Pautsch    Josef Pautsch        Brother        United States          95, 96
SSG Gary Woods       Becky Johnson        Mother         United States          97, 98
                     Marla Van            Sister         United States          49, 50
CSM Marilyn          Cannon
Gabbard              Michael Van          Brother        United States          51, 52
                     Cannon
PFC Kelly            Richard Gervasi      Half-Brother   United States          59, 60
Youngblood           II
CPT Arthur Felder    Cheryl Felder        Mother         United States          25, 26
                     Stuart
SSG Billy Orton      Manaser Orton        Adopted Son    United States          27, 28
SGT Alan Bean, Jr.   Alan Bean, Sr.       Father         United States          31, 32
